Case 17-69050-lrc         Doc 29      Filed 09/04/18 Entered 09/04/18 11:15:22             Desc Main
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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
In Re:                                                       Case No. 17-69050

   CHESTER PAUL RAMAGOS AND DANA                             Claim No. : 4
   LATRICE RAMAGOS
         Debtor(s)

                       NOTICE OF CREDITOR CHANGE OF ADDRESS
The creditor in the above entitled case hereby requests that the mailing address pertaining to
NOTICES ONLY, listed in the above stated case be changed.

** Below change is only for notice address. Payment address will be same as
filed in POC.

Address where Notices to the creditor be sent:

From                                               To
NCEP, LLC by AIS Portfolio Services, LP as        NCEP, LLC by AIS Portfolio Services, LP as
agent c/o AIS Portfolio Services, LP              agent c/o AIS Portfolio Services, LP


P.O. Box 165028                                   4515 N Santa Fe Ave. Dept. APS

Irving, TX 75016                                  Oklahoma City, OK 73118




                                                   /s/ Ashish Rawat
  Date: 09/04/2018
                                                  Creditor's Authorized Agent for NCEP, LLC by
                                                  AIS Portfolio Services, LP as agent c/o AIS
                                                  Portfolio Services, LP
